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Attachment to Statement of Financial Affairs #7 -
             Payments to Insiders
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                  Transfers to David Ross Jones                                                           Transfers to David Ross Jones
Chase #7518 ‐Alexander Jones                                                                          Date of Payment          Amount
  10/4/2022 CHECK 550           David R. Jones              25,000                                            2/18/2022               19,367
  9/26/2022 CHECK 681           David R. Jones              55,399                                             3/2/2022               20,000
  9/15/2022 CHECK 680           David R. Jones              20,000                                            4/21/2022               20,000
  8/16/2022 CHECK 673           David R. Jones              44,112                                             5/9/2022               20,000
  7/22/2022 CHECK 574           David R. Jones              73,538            218,048                         7/22/2022               73,538
                                                               ‐                                              7/25/2022               12,000
Prosperity #9175 Alesancer E Jones; David R Jones              ‐                                              7/25/2022               15,000
  7/25/2022 Check 1233           David R. Jones             12,000                                            8/16/2022               44,112
  7/25/2022 Check 1234           David R. Jones             15,000             27,000                         9/15/2022               20,000
                                                               ‐                                              9/26/2022               55,399
                                                                                                              10/4/2022               25,000
                                                                                                                                              Transfer of 2015
                                                                                                                                              Challengeer hellcat
                                                                                                                                              based on 32923
                                                                                                             10/12/2022                42,347 KBB value
                                                                                                                                              Transfer of 2013
                                                                                                                                              Ford Raptor based
                                                                                                                                              on 32923 KBB
                                                                                                             10/12/2022                35,095 value
                                                                                                                                              Transfer of 2019
                                                                                                                                              Ford Raptor based
                                                                                                                                              on 32923 KBB
                                                                ‐                                            10/12/2022                31,767 value
Security # 8548 Alexander Jones POD David Jones                 ‐                                                                     433,624
  2/18/2022 ACH 6340000011 JONES, DAVID R.                   19,367
   3/2/2022 ACH 6340000035 JONES, DAVID R.                   20,000
  4/21/2022 ACH 6340000008 JONES, DAVID R.                   20,000
   5/9/2022 ACH 6340000007 JONES, DAVID R.                   20,000                                 Transfer of Property to David Jones
Transfers to David Jones                                 324,415.31            79,367               Date                   Value                Description
                                                                                                              4/14/2022                 137,270 Perdanales Hills Ranch

Transfer from David Jones‐Security 8548
  11/4/2022 Direct Credit        ONLINE XFR FRM CHK ‐‐     XXXX753 DAVID ROSS JONES     500,000.00 Note: Missouri Trust transferred $500,000 into D Jones account, and D Jones transferred $500,000 to #8548.
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